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United States District Court
Southern District of New York                                    1:19-cv-08975

Eric Parham, individually and on behalf of
all others similarly situated
                                 Plaintiff
                                                            Class Action Complaint
                   - against -

Aldi Inc.
                                 Defendant

       Plaintiff by attorneys alleges upon information and belief, except for allegations pertaining

to plaintiff, which are based on personal knowledge:


       1.       Aldi Inc. (“defendant”) manufactures, distributes, markets, labels and sells

almondmilk beverages purporting to be characterized by vanilla under the Friendly Farms brand

(“Products”).

       2.       The Products are available to consumers nationwide from one or more of the

following: defendant’s Aldi grocery stores, third-party retailers, including brick and mortar and



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online stores and directly from defendant’s website.

           3.      The Products are sold in sizes including 64 FL OZ (1.5 L or ½ gallon) in regular and

unsweetened varieties.

           4.      The Products’ front labels and/or advertising makes direct representations with

respect to their primary recognizable and characterizing flavor, by the word “VANILLA” and/or

vignette.1

                                    Vanilla                Unsweetened Vanilla




I. Vanilla is Constantly Subject to Efforts at Imitation Due to High Demand


           5.      By law, vanilla refers to the “the total sapid and odorous principles extractable from

one-unit weight of vanilla beans.”2

           6.      Shortly after the passage of the Pure Food and Drugs Act of 1906, E. M. Chace,


1
    21 C.F.R. § 101.22(i).
2
    21 C.F.R. §169.3(c)


                                                      2
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Assistant Chief of the Foods Division of the U.S. Department of Agriculture’s Bureau of

Chemistry, noted “There is at least three times as much vanilla consumed [in the United States] as

all other flavors together.”3

        7.      This demand could not be met by the natural sources of vanilla, leading

manufacturers to devise methods to imitate vanilla’s flavor and appearance.

        8.      Though the Pure Food and Drugs Act was enacted to “protect consumer health and

prevent commercial fraud,” these public ills have hardly ceased, except for the artifices employed.4

        9.      Daily headlines alert us to this resurgent international threat of “food fraud” – from

olive oil made from cottonseeds to the horsemeat scandal in the European Union.5

        10.     While “food fraud” has no agreed-upon definition, its typologies encompass an ever-

expanding, often overlapping range of techniques with one common goal: giving consumers less

than what they bargained for.

        11.     Vanilla is considered a “high-risk [for food fraud] product because of the multiple

market impact factors such as natural disasters in the source regions, unstable production, wide

variability of quality and value of vanilla flavorings,” second only to saffron in price.6

        12.     The efforts at imitating vanilla offers a lens to the types of food fraud regularly

employed across the spectrum of valuable commodities.7



3
  E. M. Chace, “The Manufacture of Flavoring Extracts,” Yearbook of the United States Department of Agriculture
1908 (Washington, DC: Government Printing Office, 1909) pp.333–42, 333 quoted in Nadia Berenstein, "Making a
global sensation: Vanilla flavor, synthetic chemistry, and the meanings of purity," History of Science 54.4 (2016):
399-424 at 399.
4
  Berenstein, 412.
5
  Jenny Eagle, ‘Today’s complex, fragmented, global food supply chains have led to an increase in food fraud’,
FoodNavigator.com, Feb. 20, 2019; M. Dourado et al., Do we really know what’s in our plate?. Annals of Medicine,
51(sup1), 179-179 (May 2019); Aline Wisniewski et al., "How to tackle food fraud in official food control authorities
in Germany." Journal of Consumer Protection and Food Safety: 1-10. June 11, 2019.
6
  Société Générale de Surveillance SA, (“SGS “), Authenticity Testing of Vanilla Flavors – Alignment Between
Source Material, Claims and Regulation, May 2019.
7
  Kathleen Wybourn, DNV GL, Understanding Food Fraud and Mitigation Strategies, PowerPoint Presentation, Mar.
16, 2016.


                                                         3
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         Type of Food Fraud                                     Application to Vanilla

    ➢ Cheating on analytical tests             •   Manipulation of the carbon isotope ratios to
       by containing markers                       produce synthetic vanillin with similar carbon
       specifically tested for                     isotope composition to natural vanilla

    ➢ Cheating by giving                       •   Ground vanilla beans and/or seeds to provide visual
       consumers the impression                    appeal as “specks” so consumer thinks they are a
       the food or ingredient is                   result of the product containing real vanilla bean,
       present in greater amounts                  when the ground beans have been exhausted of
       and/or higher quality form                  flavor, and any vanilla flavor tasted may not even
       than it actually contains                   be due to the presence of real vanilla

    ➢ Substitution or Replacement              •   Tonka beans, which are banned from entry to the
       a food product/ingredient                   United States, instead of vanilla beans
       with an alternate food                  •   Coumarin, phytochemical found in Tonka beans, to
       product/ingredient of lower                 increase the vanilla flavor perception
       quality

    ➢ Coloring agents to produce a             •   Caramel in vanilla extracts to darken the
       more attractive color                       substance’s color additives like caramel to enhance
                                                   the hue of an imitation vanilla so it more closely
                                                   resembles real vanilla8
                                               •   Annatto and turmeric in dairy products purporting
                                                   to be flavored with vanilla, to darken the color to
                                                   better resemble the hue of rich, yellow butter

    ➢ Addition of less expensive               •   Synthetically produced ethyl vanillin, derived from
       substitute ingredient to                    wood pulp, tree bark or coal tar
       mimic flavor of more
       valuable component




8
 Renée Johnson, “Food fraud and economically motivated adulteration of food and food ingredients." Congressional
Research Service R43358, January 10, 2014.


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    ➢ Ingredient list deception9                 •   Subtle,     yet    deliberate     misidentification      and
                                                     obfuscation of a product’s components and
                                                     qualities as they appear on the ingredient list –
                                                     “ground vanilla beans” as containing actual vanilla
                                                     flavor when they are devoid of any naturally
                                                     occurring vanilla flavor
                                                 •   “Vanilla With Other Natural Flavor” sold by flavor
                                                     suppliers to manufacturers, which contains vanillin
                                                     as part of the “WONF,” in violation of vanilla-
                                                     vanillin regulations; manufacturers then deceive
                                                     consumers by labeling ingredient “natural flavor”

    ➢ Diluting/Extending                         •   Combination with flavoring substances such as
                                                     propenyl guaethol (“Vanitrope”), a “flavoring agent
                                                     [, also] unconnected to vanilla beans or vanillin, but
                                                     unmistakably producing the sensation of vanilla”10

                                                 •   “Spiking” or “fortification” of vanilla through
                                                     addition of natural flavors including vanillin, which
                                                     simulates vanilla taste but obtained from tree bark
                                                 •   Compounding vanilla flavor with other flavors


II. The Unqualified Representations as “Vanilla” are Misleading


        13.     The front labels represent the Products’ characterizing flavor is vanilla and that they

contain a characterizing food ingredient, vanilla flavoring or vanilla extract, that is sufficient to

independently characterize the Products.

        14.     The unqualified, prominent and conspicuous representations as “Vanilla” is false,



9
  Recent example of this would be “evaporated cane juice” as a more healthful sounding term to consumers to identify
sugar
10
   Berenstein, 423.


                                                         5
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deceptive and misleading because they contain flavors other than vanilla, as revealed by “Natural

Flavors” on the ingredient list.11

                                          Ingredient List (Unsweetened)




                   INGREDIENTS: ALMONDMILK (FILTERED WATER,
                   ALMONDS), CALCIUM CARBONATE, NATURAL FLAVORS,
                   SEA SALT, GELLAN GUM, DIPOTASSIUM PHOSPHATE,
                   SUNFLOWER LECITHIN, XANTHAN GUM, VITAMIN A
                   PALMITATE,   VITAMIN D2, D-ALPHA-TOCOPHEROL
                   (VITAMIN E).

           15.    If the “natural flavors” on the ingredient list only consisted of vanilla flavoring or

vanilla extract, these higher value ingredients would be declared by their common or usual names

instead of the opaque and ubiquitous “natural flavor.”

           16.    “Natural flavor” refers to “the essential oil, oleoresin, essence or extractive…which

contains the flavoring constituents” from a natural source such as plant material and can refer to

combinations of natural flavors.12

           17.    Reasons for combining flavors prior to their addition to the food include the volatile

nature of flavoring constituents, the ability to make misleading representations with respect to a

product’s flavor, ease of us and consistency.


       A. Vanilla with Other Natural Flavors by Itself Would be Misleading


11
     The unsweetened vanilla product contains the same ingredients except for cane sugar.
12
     21 C.F.R. § 101.22(a)(3).


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         18.    Where a flavor is derived from natural sources other than the characterizing flavor

(i.e., vanilla) that simulates, resembles or reinforces a product’s characterizing flavor which is

derived from the presence of the food ingredient – i.e., vanilla flavoring or vanilla extract – such

flavors are known as “other natural flavors” or “WONF flavors.”13

         19.    A product which contains “other natural flavors” is required to be designated on the

front label by “[CHARACTERIZING FLAVOR] + [FLAVORED] + WONF.”14

         20.    The ingredient most commonly used in the trade to describe a combination of flavors

from real vanilla and non-vanilla natural sources such as tree bark or lignin, which simulate and

resemble vanilla is “Vanilla With Other Natural Flavors” or “Vanilla WONF.”15

         21.    “Vanilla With Other Natural Flavors” is often declared as “Natural Vanilla Flavor

with Other Natural Flavor,” “Natural Vanilla Flavor, [followed separately by] Natural Flavor” or

“Natural Flavor(s)”.

         22.    If the Products contain an insufficient amount of vanilla to independently

characterize the Products and the “other natural flavors” do not simulate or resemble vanilla, a

non-misleading description would be “Natural Vanilla Flavored Almondmilk” or “Vanilla

Flavored Almondmilk.”16

         23.    If the Products’ natural flavor ingredient refers to a “Vanilla WONF” its flavor could

be described as “Vanilla Flavored Almondmilk With Other Natural Flavor.”



13
   21 C.F.R. § 101.22(i)(1)(iii).
14
   21 C.F.R. § 101.22(i)(1)(iii).
15
   21 C.F.R. § 101.22(i)(1)(iii) (“If the food contains both a characterizing flavor from the product whose flavor is
simulated and other natural flavor which simulates, resembles or reinforces the characterizing flavor, the food shall
be labeled in accordance with the introductory text and paragraph (i)(1)(i) of this section and the name of the food
shall be immediately followed by the words "with other natural flavor" in letters not less than one-half the height of
the letters used in the name of the characterizing flavor.”)
16
   21 C.F.R. § 101.22(i)(1)(i) (“If the food is one that is commonly expected to contain a characterizing food ingredient,
e.g., strawberries in "strawberry shortcake", and the food contains natural flavor derived from such ingredient and an
amount of characterizing ingredient insufficient to independently characterize the food”).


                                                            7
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        24.    However, such a description would cause consumers to expect the Products contain

the standardized vanilla ingredients – vanilla flavoring or vanilla extract – and a greater amount

of these high value products, when they actually contain a compounded vanilla flavor.

        25.    Since the amounts of vanilla flavoring or vanilla extract and natural flavors have a

material bearing on the price and consumer acceptance of the Products, their identity statement

should be accompanied by the percentages of vanilla and non-vanilla flavors, i.e., 50% vanilla

flavor and 50% non-vanilla flavors.17

        26.    The percentage requirements would distinguish the flavoring component in the

Products from those which contain the standardized, full strength ingredients.


     B. Vanilla WONF with Added Vanillin Would be Misleading


        27.    If the “WONF” component of the Vanilla WONF contained vanillin from a non-

vanilla natural source, it would be considered a vanilla-vanillin combination ingredient: Vanilla-

vanillin extract, Vanilla-vanillin flavoring and Vanilla-vanillin powder.18

        28.    The labeling and disclosure for such products would be controlled not by the general

flavoring regulations but by the vanilla standards, where there is a conflict between them.

        29.     The combination of vanilla and vanillin requires the name of the ingredient on the

ingredient list be “followed immediately by the statement ‘contains vanillin, an artificial flavor (or

flavoring),’” even if the vanillin is made from natural materials and through a natural process 19

        30.    If a product made with a vanilla-vanillin combination ingredient represented that its

characterizing flavor was vanilla, its front label would be required to declare the presence of



17
   21 C.F.R. § 102.5(b).
18
   21 C.F.R. § 169.180, § 169.181, § 169.182.
19
   See 21 C.F.R. § 169.180(b), § 169.181(b), § 169.182(b).


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vanillin and/or artificial flavor(s).

        31.   These requirements prevent consumers from being misled by products which

“boost,” “fortify” or “spike” a miniscule amount of real vanilla with the addition of vanillin.

        32.   Without proportionally conspicuous disclosure of a product’s vanilla and vanillin

components, consumers would pay more money for products that may taste like vanilla even

though the taste is not derived from vanilla beans.


III. Conclusion


        33.   The proportion of the characterizing component, vanilla, has a material bearing on

price or consumer acceptance of the Products because it is more expensive and desired by

consumers.

        34.   The composition of the natural flavors used in the Products is known only to

defendant at this time such that an accurate and non-misleading flavor designation cannot be

determined beyond the present conclusion that the unqualified representation as vanilla is

misleading and deceptive.

        35.   Had Plaintiff and Class members known the truth about the Products, they would not

have bought the Products or would have paid less.

        36.   The Products contain other representations which are misleading and deceptive.

        37.   As a result of the false and misleading labeling, the Products cost no less than $5.99

per 64 FL OZ (1.5 L), excluding tax – premium prices compared to other similar products

represented in a non-misleading way.

                                        Jurisdiction and Venue


        38.   Jurisdiction is proper pursuant to 28 U.S.C. § 1332(d)(2).



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        39.    Upon information and belief, the aggregate amount in controversy is more than

$5,000,000.00, exclusive of interests and costs.

        40.    This court has personal jurisdiction over defendant because it conducts and transacts

business, contracts to supply and supplies goods within New York.

        41.    Venue is proper because plaintiff and many class members reside in this District and

defendant does business in this District and State.

        42.    A substantial part of events and omissions giving rise to the claims occurred in this

District.

                                                   Parties

        43.    Plaintiff is a citizen of Bronx County, New York

        44.    Defendant is a Illinois limited liability company with a principal place of business in

Batavia, California (Kane County) and upon information and belief, no member of defendant is a

citizen of New York.

        45.    During the class period, Plaintiff purchased one or more of the Products identified

herein for personal use, consumption or application based on the above representations, for no less

than the price indicated, supra, excluding tax, within their districts and/or states.

        46.    Plaintiff would consider purchasing the Products again if there were assurances that

the Products’ representations were no longer misleading.

                                          Class Allegations


        47.    The classes will consist of all consumers in all 50 states with sub-classes for the

individual states and nationwide classes.

        48.    The complaint contains Plaintiff(s) from: New York, who will represent his state

sub-class of persons who purchased any Products containing the actionable representations during



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the statutes of limitation.

         49.   Common questions of law or fact predominate and include whether the

representations were likely to deceive reasonable consumers and if Plaintiff and class members are

entitled to damages.

         50.   Plaintiff’s claims and the basis for relief are typical to other members because all

were subjected to the same representations.

         51.   Plaintiff is an adequate representative because his interests do not conflict with other

members.

         52.   No individual inquiry is necessary since the focus is only on defendant’s practices

and the class is definable and ascertainable.

         53.   Individual actions would risk inconsistent results, be repetitive and are impractical

to justify, as the claims are modest.

         54.   Plaintiff’s counsel is competent and experienced in complex class action litigation

and intends to adequately and fairly protect class members’ interests.

         55.   Plaintiff seeks class-wide injunctive relief because the practices continue.

                          New York General Business Law (“GBL”) §§ 349 & 350
                       and Consumer Protection Statutes of Other States and Territories

         56.   Plaintiff asserts causes of action under the consumer protection statutes of New York

and may be subsequently joined by plaintiffs from other states under the consumer protection acts

below.

    a. Alabama Deceptive Trade Practices Act, Ala. Code § 8-19-1, et. seq.;
    b. Alaska Unfair Trade Practices and Consumer Protection Act, Ak. Code § 45.50.471, et.
       seq.;
    c. Arizona Consumer Fraud Act, Ariz. Rev. Stat. Ann. §§ 44-1521 et. seq.;
    d. Arkansas Deceptive Trade Practices Act, Ark. Code § 4-88-101, et. seq.;
    e. California Consumers Legal Remedies Act, Cal. Civ. Code §§ 1750 et seq. and Unfair
       Competition Law, Cal. Bus. Prof. Code §§ 17200- 17210 et. seq.;
    f. Colorado Consumer Protection Act, Colo Rev. Stat § 6-1-101, et. seq.;


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g.  Connecticut Unfair Trade Practices Act, Conn. Gen Stat § 42-110a, et. seq.;
h.  Delaware Deceptive Trade Practices Act, 6 Del. Code § 2511, et. seq.;
i.  District of Columbia Consumer Protection Procedures Act, D.C. Code §§ 28-3901, et. seq.;
j.  Florida Deceptive and Unfair Trade Practices, Act Florida Statutes§ 501.201, et. seq.;
k.  Georgia Fair Business Practices Act, §10-1-390 et. seq.;
l.  Hawaii Unfair and Deceptive Practices Act, Hawaii Revised Statutes § 480 1, et. seq. and
    Hawaii Uniform Deceptive Trade Practices Act, Hawaii Revised Statute § 481A-1, et. seq.;
m. Idaho Consumer Protection Act, Idaho Code § 48-601, et. seq.;
n. Illinois Consumer Fraud and Deceptive Business Practices Act, 815 ILCS § 505/1, et. seq.;
o. Indiana Deceptive Consumer Sales Act, Ind. Code §§ 24-5-0.5-1 et. seq.;
p. Iowa Consumer Fraud and Private Right of Action for Consumer Frauds Act, Iowa Code
    Ann. § 714.16 et seq.;
q. Kansas Consumer Protection Act, Kan. Stat. Ann §§ 50 626, et. seq.;
r. Kentucky Consumer Protection Act, Ky. Rev. Stat. Ann. §§ 367.110, et. seq., and the
    Kentucky Unfair Trade Practices Act, Ky. Rev. Stat. Ann § 365.020, et. seq.;
s. Louisiana Unfair Trade Practices and Consumer Protection Law, La. Rev. Stat. Ann. §§
    51:1401, et. seq.;
t. Maine Unfair Trade Practices Act, 5 Me. Rev. Stat. § 205A, et. seq., and Maine Uniform
    Deceptive Trade Practices Act, Me. Rev. Stat. Ann. 10, § 1211, et. seq.;
u. Maryland Consumer Protection Act, Md. Code, Com. Law § 13-101 et seq.;
v. Massachusetts Unfair and Deceptive Practices Act, Mass. Gen Laws Ch. 93A;
w. Michigan Consumer Protection Act, §§ 445.901, et. seq.;
x. Minnesota Prevention of Consumer Fraud Act, Minn. Stat §§ 325F.68, et. seq.; and
    Minnesota Uniform Deceptive Trade Practices Act, Minn. Stat. § 325D.43, et. seq.;
y. Mississippi Consumer Protection Act, Miss. Code An. §§ 75-24-1, et. seq.;
z. Missouri Merchandising Practices Act, Mo. Rev. Stat. § 407.010, et. seq.;
aa. Montana Unfair Trade Practices and Consumer Protection Act, Mont. Code § 30-14-101,
    et. seq.;
bb. Nebraska Consumer Protection Act, neb. Rev. Stat. § 59 1601 et. seq., and the Nebraska
    Uniform Deceptive Trade Practices Act, Neb. Rev. Stat. § 87-301, et. seq.;
cc. Nevada Trade Regulation and Practices Act, Nev. Rev. Stat. §§ 598.0903, et. seq.;
dd. New Hampshire Consumer Protection Act, N.H. Rev. Stat. § 358-A:1, et. seq.;
ee. New Jersey Consumer Fraud Act, N.J. Stat. Ann. §§ 56:8 1, et. seq.;
ff. New Mexico Unfair Practices Act, N.M. Sta. Ann. §§ 57 12 1, et. seq.;
gg. New York General Business Law (“GBL”) §§ 349 & 350;
hh. North Carolina General Statutes Chapter 75: Monopolies, Trusts and Consumer Protection,
    N.C. Gen. Stat. §§ 75-1.1 through 75-35;
ii. North Dakota Consumer Fraud Act, N.D. Cent. Code §§ 51 15 01, et. seq.;
jj. Ohio Rev. Code Ann. §§ 1345.02 and 1345.03; Ohio Admin. Code §§ 109;
kk. Oklahoma Consumer Protection Act, Okla. Stat. 15 § 751, et. seq.;
ll. Oregon Unfair Trade Practices Act, Ore. Rev. Stat. § 646.608(e) & (g);
mm. Pennsylvania Unfair Trade Practices and Consumer Protection Law, 73 Pa. Stat. Ann. §§
    201-1 et. seq.;
nn. Rhode Island Unfair Trade Practices and Consumer Protection Act, R.I. Gen. Laws § 6-
    13.1-1 et. seq.;
oo. South Carolina Unfair Trade Practices Act, S.C. Code Law § 39-5-10, et. seq.;



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   pp. South Dakota’s Deceptive Trade Practices and Consumer Protection Law, S.D. Codified
       Laws §§ 37 24 1, et. seq.;
   qq. Tennessee Consumer Protection Act, Tenn. Code Ann. § 47-18-101 et. seq.;
   rr. Texas Deceptive Trade Practices-Consumer Protection Act, Tex. Bus. & Com. Code Ann.
       §§ 17.41 et. seq.;
   ss. Utah Consumer Sales Practices Act, Utah Code Ann. §§ 13-11-1 et. seq.;
   tt. Vermont Consumer Fraud Act, Vt. Stat. Ann. Tit. 9, § 2451, et. seq.;
   uu. Virginia Consumer Protection Act, Va. Code Ann. §§ 59.1-196 et. seq.;
   vv. Washington Consumer Fraud Act, Wash. Rev. Code § 19.86/0101, et. seq.;
   ww. West Virginia Consumer Credit and Protection Act, West Virginia Code § 46A-6-101,
       et. seq.;
   xx. Wisconsin Deceptive Trade Practices Act, Wis. Stat. §§ 100.18, et. seq.; and
   yy. Wyoming Consumer Protection Act, Wyo. Stat. Ann.§§ 40-12-101 et. seq.;

       57.   Defendant’s acts, practices, advertising, labeling, packaging, representations and

omissions are not unique to the parties and have a broader impact on the public.

       58.   Plaintiff and class members desired to purchase products which were as described

by defendant and expected by reasonable consumers, given the product type.

       59.   After mailing appropriate notice and demand, any subsequent plaintiff in a State

where notice is required prior to seeking damages under that State’s Consumer Protection Statutes,

will have mailed and/or have amended this complaint to request damages.

       60.   Defendant’s conduct was misleading, deceptive, unlawful, fraudulent, and unfair

because (1) it gives the impression to consumers the Products are only flavored by the

characterizing ingredient and contains more of the characterizing ingredient than they actually do

and (2) the ingredient list fails to dispel ambiguity and reinforces the front-label impression as to

a greater amount of the characterizing ingredients.

       61.   Plaintiff and class members relied on the representations and omissions, paying more

than they would have, causing damages.

                                       Negligent Misrepresentation

       62.   Plaintiff incorporates by reference all preceding paragraphs.

       63.   Defendant misrepresented the substantive, quality, compositional, organoleptic


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and/or nutritional attributes of the Products through representing the characterizing ingredient was

present in greater amount than it was and affirmatively representing the Products was flavored

only by vanilla.

       64.      Defendant had a duty to disclose and/or provide non-deceptive labeling of the

Products and knew or should have known same were false or misleading.

       65.      This duty is based on defendant’s position as an entity which has held itself out as

having special knowledge and experience in the production, service and/or sale of the product or

service type.

       66.      The representations took advantage of consumers’ (1) cognitive shortcuts made at

the point-of-sale and (2) trust placed in defendant, a well-known and respected brand in this sector.

       67.      Plaintiff and class members reasonably and justifiably relied on these negligent

misrepresentations and omissions, which served to induce and did induce, the purchase of the

Products.

       68.      Plaintiff and class members would not have purchased the Products or paid as much

if the true facts had been known, suffering damages.

             Breaches of Express Warranty Implied Warranty of Merchantability and
                   Magnuson Moss Warranty Act, 15 U.S.C. §§ 2301, et seq.

       69.      Plaintiff incorporates by reference all preceding paragraphs.

       70.      Defendant manufactures and sells products which contain the identified

characterizing ingredients and/or flavors which are desired by consumers.

       71.      The Products warranted to Plaintiff and class members that they possessed

substantive, functional, nutritional, qualitative, compositional, organoleptic, sensory, physical and

other attributes which they did not.

       72.      Defendant’s front labels informed and warranted to Plaintiff the Products contained



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only the characterizing ingredients to impart flavor, and that they were present in amounts

sufficient to independently characterize the food and that the flavor imparted to the Products was

a result of the food ingredients and not “natural flavors” or “other natural flavors.”

        73.   Defendant had a duty to disclose and/or provide a non-deceptive description of the

Products flavoring on the front labels and knew or should have known same were false or

misleading.

        74.   This duty is based, in part, on defendant’s position as one of the most recognized

companies in the nation in this sector.

        75.   Plaintiff provided or will provide notice to defendant and/or its agents,

representatives, retailers and their employees.

        76.   The Products did not conform to their affirmations of fact and promises due to

defendant’s actions and were not merchantable.

        77.   Plaintiff and class members relied on defendant’s claims, paying more than they

would have.

                                              Fraud


        78.   Plaintiff incorporates by references all preceding paragraphs.

        79.   Defendant’s purpose was to sell products which purported to contain valuable and

desired characterizing ingredient(s) or flavor(s), and represent the Products were exclusively or

predominantly flavored from that ingredient and contained sufficient independent amounts of

same.

        80.   The Products were not flavored exclusively from the characterizing ingredient but

from flavor compounds blended together and labeled as “natural flavor” and “artificial flavor.”

        81.   Defendant’s fraudulent intent is evinced by its failure to accurately indicate the



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Products contained flavor from non-vanilla sources on the front label, because it knows consumers

prefer foods that are flavored from food ingredients instead of added flavor ingredients and contain

enough of the characterizing food ingredients to flavor the Products.

       82.    Defendant’s intent was to secure economic advantage in the marketplace against

competitors by appealing to consumers who value products with sufficient amounts of the

characterizing ingredients for the above-described reasons.

       83.    Plaintiff and class members observed and relied on defendant’s claims, causing them

to pay more than they would have, entitling them to damages.

                                           Unjust Enrichment

       84.    Plaintiff incorporates by references all preceding paragraphs.

       85.    Defendant obtained benefits and monies because the Products were not as

represented and expected, to the detriment and impoverishment of plaintiff and class members,

who seek restitution and disgorgement of inequitably obtained profits.

                                 Jury Demand and Prayer for Relief

Plaintiff demands a jury trial on all issues.

    WHEREFORE, Plaintiff prays for judgment:

   1. Declaring this a proper class action, certifying plaintiff as representative and the

       undersigned as counsel for the class;

   2. Entering preliminary and permanent injunctive relief by directing defendant to correct the

       challenged practices to comply with the law;

   3. Injunctive relief to remove and/or refrain from the challenged representations, restitution

       and disgorgement for members of the State Subclasses pursuant to the consumer protection

       laws of their States;

   4. Awarding monetary damages and interest, including treble and punitive damages, pursuant


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      to the common law and consumer protection law claims, and other statutory claims;

   5. Awarding costs and expenses, including reasonable fees for plaintiff’s attorneys and

      experts; and

   6. Other and further relief as the Court deems just and proper.

Dated: September 26, 2019
                                                              Respectfully submitted,

                                                              Sheehan & Associates, P.C.
                                                              /s/Spencer Sheehan
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                                                                      -and-
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1:19-cv-08975
United States District Court
Southern District of New York

Eric Parham, individually and on behalf of all others similarly situated


                                         Plaintiff


        - against -


Aldi Inc.
                                          Defendant




                                   Class Action Complaint


                             Sheehan & Associates, P.C.
                              505 Northern Blvd., #311
                                Great Neck, NY 11021
                                Tel: (516) 303-0552
                                Fax: (516) 234-7800



Pursuant to 22 NYCRR 130-1.1, the undersigned, an attorney admitted to practice in the courts of
New York State, certifies that, upon information, and belief, formed after an inquiry reasonable
under the circumstances, the contentions contained in the annexed documents are not frivolous.

Dated: September 26, 2019
                                                                           /s/ Spencer Sheehan
                                                                            Spencer Sheehan
